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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

    
     

K
EDIS PERDOMO, Docket No.: 15-CV-09756 (PKC)
Plaintiff, STIPULATION OF ~ Bud
ARBITRATION oO
USDC SDNY

   
   
      

DE PALINO RESTAURANT CORP,, DEAN
PALIN, ANDREW SILVERMAN, and
SETH LOWENSTEIN, |

 
 

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DATE FILED:_22-25-/6_f

WHEREAS, Branded Restaurants maintains an Employment Arbitration Policy {the“Policy”)

Defendants,

 

which applies to the dispute between Plaintiff and the Defendants.

IT IS HEREBY-STIPULATED AND AGREED by and among the undersigned counsel for
all the patties herein, that the above-referenced action shall be stayed pending arbitration in accordance
with section 3 of the Federal Arbitration Act.

IT IS ALSO HEREBY STIPULATED AND AGREED by and among the undersigned
counsel for all the partics herein, that the Complaint in this action shall be construed as Plaintiff's
demand for arbitration which Plaintiff shall mail to Defendants’ counsel in addition to a required fee of
$25.00 paid via check to Branded Restaurants. Within ten (10) business days of receiving such fee,
counsel for Branded Restaurants shall file the demand with an appropriate office of AAA, together
with the applicable administrative fee as provided in the AAA's fee schedule.

IT IS ALSO HEREBY STIPULATED AND AGREED by and among the undersigned
counsel for all the parties herein that, under Section 25 of the Policy (Expenses), the arbitrator's
compensation shall be paid by Branded Restaurants except to the extent specifically set forth therein.

IT IS ALSO HEREBY STIPULATED AND AGREED by and among the undersigned

-. gounsel for all the parties herein, that this Court shall retain jurisdiction to enforce any arbitration

‘award issued in this matter, if any is issued.
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For purposes of this stipulation, facsimile signatures shall be considered as original signatures.

Dated: February 24, 2016

 

 

BRAVERMAN LAW PC MILMAN LABUDA LAW GROUP, PLLC
Attomeys for Plaintiff Attorneys for Defendants
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(212) 206-8166 (516) 328-8899

    
 
   

SO ORDERED:

L/h

~ Honorable P. Kevin Castel, U.S.DJ.

Dove — EC.
